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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE APPLICATION OF APOSTOLOS
MANGOURAS TO CONDUCT DISCOVERY FOR                                         17-mc-172(PKC)
USE IN A FOREIGN PROCEEDING PURSUANT
TO 28 U.S.C. 1782                                                           ORDER
-----------------------------------------------------------x

CASTEL, District Judge.
                Counsel for the Cushing Respondents, who also serves as counsel to Squire

Patton Boggs (US) LLP and Brian Starer Esq., asserts that counsel for Aspostolos Mangouras

has jumped the gun in presenting a discovery dispute to this Court. The dispute arises out of this

Court’s grant on October 30, 2017 of Mangouras’s application for discovery from the Cushing

Respondents pursuant to 28 U.S.C. § 1782.

                Counsel for the Cushing Respondents, fully apprised of the specific documents at

issue in the discovery dispute, seeks a meeting with Mangouras’s counsel in their New York

office on February 27, 2018, asserting to this Court that “For our part, we would certainly make

every effort to ensure that the meeting obviates any disputes.”

                Taking counsel for the Cushing Respondents at their word, the Court orders

counsel for Mangouras to meet on February 27, 2018 in the New York offices of Squire Patton

Boggs. Out of an abundance of caution, the Court also orders the Cushing Respondents to

submit to Chambers of the undersigned by 5 p.m. on March 2, 2018 the 19 documents designated

by Mangouras for in camera review, as well as those identified in footnotes 1 and 2 of the

Tisdale Letter of February 16, 2018, except for those that the Cushing Respondents agree to

produce. In submitting the documents to Chambers, the Cushing Respondents may make an

evidentiary submission or written legal argument in support of any claim of privilege or work
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product. Given the Cushing Respondents assertion to this Court, the Court fully expects that will

be no need for the Cushing Respondents to make any submission.

               SO ORDERED.




Dated: New York, New York
       February 22, 2018




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